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                            Exhibit A
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 2 of 47 PageID #:6
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 3 of 47 PageID #:7
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 4 of 47 PageID #:8
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 5 of 47 PageID #:9
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 6 of 47 PageID #:10
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 7 of 47 PageID #:11
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 8 of 47 PageID #:12
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 9 of 47 PageID #:13
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 10 of 47 PageID #:14
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Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 12 of 47 PageID #:16
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 13 of 47 PageID #:17
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Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 41 of 47 PageID #:45
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Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 44 of 47 PageID #:48
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 45 of 47 PageID #:49
Case: 1:21-cv-03024 Document #: 1-1 Filed: 06/04/21 Page 46 of 47 PageID #:50
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